          Case 1:24-cv-00206-ABJ Document 89 Filed 10/16/24 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 HAZIM NADA and LORD ENERGY SA,                   )
                                                  )
                                Plaintiffs,       )
                                                  )
                         v.                       )   Case No. 1:24-cv-00206-ABJ
                                                  )
 THE UNITED ARAB EMIRATES, et al.,
                                                  )
                              Defendants.         )
                                                  )

 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION
 TO DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO FILE REPLY BRIEFS

        Plaintiffs respectfully oppose Defendants’ Joint Motion for Extension of Time to File

Reply Briefs. (ECF No. 88.)

        On August 7, 2024, the Court entered a Minute Order directing the parties to submit a

proposed briefing schedule for Defendants’ motions to dismiss Plaintiffs’ Amended Complaint.

On August 16, 2024, the parties submitted a joint response proposing alternative schedules

according to each party’s preference. (ECF No. 79.) In their proposed briefing schedule,

Defendants requested 30 days after Plaintiffs filed their opposition brief to submit their reply

briefs. (Id.) They argued that “logistical complications” of coordinating among defendants, the

facilitation of “intra-government” review of the Amended Complaint, and counsel’s pre-existing

vacation plans justified a longer briefing schedule. (Id.; ECF No. 88.)

        On August 19, 2024, this Court entered a scheduling order rejecting Defendants’ proposed

briefing schedule and giving them 14 days—until October 21, 2024—to file their reply briefs.

That Order also gave Defendants 45 days to file their motions to dismiss and Plaintiffs 21 days to

file their opposition.
          Case 1:24-cv-00206-ABJ Document 89 Filed 10/16/24 Page 2 of 3




       On September 20, 2024, Defendants filed four separate motions to dismiss the Amended

Complaint totaling 145 pages. (ECF Nos. 80, 81, 84, 85.) Plaintiffs filed an omnibus opposition

to all four motions on October 7, 2024. (ECF No. 87.)

       Relying on the same arguments they did to justify their initial 30-day request—

coordinating among multiple defendants and facilitating “intra-government” review—Defendants

now seek an additional 30 days to file their reply briefs, which would give them a total of 45 days,

exceeding even their initial request. Defendants have provided no new reason to justify that

additional time, except that Plaintiffs’ opposition makes arguments that respond to Defendants’

motions to dismiss. This Court should deny the motion for same reasons it denied Defendants’

initial expanded schedule.

Dated: October 16, 2024                           Respectfully Submitted,

                                                  /s/ Thomas A. Clare, P.C.

                                                  Thomas A. Clare, P.C.
                                                  Nicholas J. Brechbill
                                                  Eric D. Hageman
                                                  CLARE LOCKE LLP
                                                  10 Prince Street
                                                  Alexandria, Virginia 22314
                                                  Telephone: (202) 628-7400
                                                  Email: tom@clarelocke.com
                                                  Email: nick@clarelocke.com
                                                  Email: eric.hageman@clarelocke.com

                                                  Attorneys for Plaintiffs




                                                        2
                                                 2
         Case 1:24-cv-00206-ABJ Document 89 Filed 10/16/24 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 16, 2024, I caused a true and correct copy of the foregoing

to be served on all counsel of record by filing it using the Court’s CM/ECF system.

Date: October 16, 2024                              CLARE LOCKE LLP

                                                    /s/ Thomas A. Clare, P.C.
                                                    Thomas A. Clare, P.C. (Bar No. 461964)

                                                    Attorney for Plaintiffs




                                                         3
                                                3
